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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

 ANAS ELHADY, et al.,                                     )
                                                          )       Case No. 16-cv-00375
         Plaintiffs,                                      )       Hon. Anthony J. Trenga
                                                          )
 v.                                                       )
                                                          )
 CHARLES H. KABLE, Director of the                        )
 Terrorist Screening Center; in his official              )
 capacity, et al.;                                        )
                                                          )
         Defendants.                                      )
 _______________________________________________________________________________________________________

                           PLAINTIFFS’ FOURTH MOTION TO COMPEL

         Pursuant to Fed R. Civ. P 37(a)(3)(B) and E.D. Va. L.R. 37, Plaintiffs hereby move to

 compel documents and information regarding the TSA’s “Quiet Skies” program, which

 exists to monitor “unknown or partially known terrorists” at the same level as “Selectees.”

 The existence of the “Quiet Skies” program was first revealed in a Boston Globe article on

 July 28, 2018, and the TSA only publicly confirmed its existence in statements provided to

 the press on July 30, 2018.

         Pursuant to Federal Rule of Civil Procedure 26(c)(1), Plaintiffs’ counsel certifies the

 parties have met and conferred in good faith, but have not been able to reach agreement as

 to the requested information. As of July 30, 2018, Defendants’ counsel have indicated they

 can neither confirm nor deny the “Quiet Skies” program’s existence, including the accuracy

 of any information reported by the Boston Globe.

                                                         Respectfully submitted,

                                                         COUNCIL ON AMERICAN-ISLAMIC
                                                         RELATIONS
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                                          BY:    /s/ Gadeir Abbas
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                                          *Gadeir Abbas is licensed in VA, not in D.C.
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 Dated: August 1, 2018
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on August 1, 2018, I electronically filed the foregoing by using

 the Court’s ECF system. I further certify that all participants in the case are registered ECF

 users and will be electronically served by the Court’s ECF notification system.

                                                   Respectfully submitted,

                                                   COUNCIL ON AMERICAN-ISLAMIC
                                                   RELATIONS

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